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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA



THOMAS K. KNIGHT,
                                                        3:19−cv−00708−RCJ−WGC
                 Plaintiff(s),
vs.
FORD MOTOR CREDIT COMPANY, LLC,
                                                        August 2, 2021
                Defendant(s).


       NOTICE REGARDING INTENT TO DISMISS FOR WANT OF PROSECUTION
                      PURSUANT TO LOCAL RULE 41−1
To: Thomas K. Knight
Local Rule 41-1 provides as follows:
      "All civil actions that have been pending in this court for more than 270 days
      without any proceeding of record having been taken may, after notice, be dismissed
      for want of prosecution by the court sua sponte or on the motion of an attorney or
      pro se party."
      Be advised the official record in this action reflects that this case has been pending for
more than 270 days without any proceeding having been taken during such period.
      If no action is taken in this case by 09/01/2021, the court shall enter an order of dismissal
for want of prosecution.
                                             DEBRA K. KEMPI, CLERK


                                             By: /s/ Lesa Ettinger
                                                   Deputy Clerk
